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                                   STATEMENT OF FACTS

        Your affiant, Daniel Dales, is a Special Agent (“SA”) with the Federal Bureau of
Investigation (“FBI”), and have been so employed since July 2017. I am currently assigned to the
Los Angeles Field Office’s Long Beach Resident Agency Joint Terrorism Task Force (“JTTF”).
My duties at the JTTF include investigating violations of the laws of the United States, specifically
investigations related to domestic terrorism. As a Special Agent, I have received both formal and
informal training from the FBI regarding domestic terrorism investigations. Through my training
and experience with the FBI, I am familiar with the methods of operation that individua ls
associated with domestic extremist organizations employ – including their use of social media and
online platforms such as Facebook, Instagram, and YouTube – to communicate with associates
regarding their ideology, to organize actions on behalf of their organizations, and to bring attention
to their political and social agendas. As an FBI Special Agent, I have also participated in the
execution of multiple search warrants, including search warrants executed at physical residences
in cases involving domestic terrorism. Currently, I am tasked with investigating criminal activity
in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by
law or by a Government agency to engage in or supervise the prevention, detection, investigation ,
or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.


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       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

         During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On or about January 8, 2021, a witness (“W-1”) provided the below screenshot to the FBI
of Instagram account “@dave_247.” The screenshot shows a male wearing a tan baseball cap, a
black zip-up hoodie, and blue jeans standing next to a statue in what your affiant believes to be
the Crypt of the United States Capitol Building. The caption states: “Storm the Capital!
#StopTheSteal #DemocratsAreCriminals….” W-1 identified the male in the photograph as
David TICAS, a veteran of the United States Marine Corps (USMC).




                                             Figure 1

                                                 2
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        On May 7, 2021, your affiant spoke with W-1 by telephone. W-1 told your affiant that
s/he personally knows TICAS from their prior service together in the USMC. W-1 also knows
TICAS to use Instagram account “@dave_247.” When W-1 observed the Instagram post
depicted in Figure 1, s/he took a screenshot to provide to the FBI. However, W-1 was no longer
in possession of the screenshot at the time of the May 7, 2021 interview.

        FBI SA Evan Jesch told your affiant that on or about May 3, 2021, SA Jesch conducted
an open-source search and located information for David Antonio TICAS, of Placentia,
California, with a date of birth of August 21, 1981 and a phone number ending in -7155. Also on
that date, SA Jesch queried California DMV records and obtained a photograph of TICAS. Your
affiant has reviewed and compared this California DMV photograph to the photograph of TICAS
in Figure 1, above, and believes them to be the same person.

        SA Jesch also told your affiant that on May 6, 2021, SA Jesch obtained Department of
Defense records which identified TICAS, of Placentia, California, as a retired Marine Corps
Staff Sergeant.

      Lawfully obtained records from T-Mobile indicate that the subscriber for the phone
number ending in -7155 is David TICAS, of Placentia, California.

       Lawfully obtained records from Facebook, Inc. indicate that the Instagram account
“@dave_247” belongs to an individual named “Dave” with a telephone number ending in -7155.
These Facebook records also provide further evidence that TICAS was present at the U.S.
Capitol during the riot on January 6, 2021:

     •   On or about January 7, 2021, TICAS posted the following Community Guidelines
         violation notification to his Instagram story. See Figure 2. The notification contains a
         small picture that appears to have been taken outside the U.S. Capitol, next to
         scaffolding. TICAS originally posted the photograph that was the source of the
         Community Guidelines violation on January 6, 2021. When TICAS posted the
         Community Guidelines violation notification on January 7, 2021, he added the
         comment, “I guess only the clowns of BLM & Antifa can post their peaceful protests.”




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                                     Figure 2

•   On or about January 7, 2021, Instagram user @gethart13 sent TICAS a message saying,
    “Stay safe out there outlaw,” to which TICAS responded, “Lol. I left the city, was
    there to have my voice heard. These politicians are straight up criminals. There is a
    reason for this non-pandemic to continue, it’s the nwo trying to get rid of Trump.”

•   On or about March 19, 2021, Instagram user @1775_semper-fidelis sent a message to
    TICAS saying, “Shit your back lol,” to which TICAS responded “lol… Being a
    domestic terrorist and all.”




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         According to records obtained through a search warrant served on Google, a mobile
device associated with the phone number ending in -7155 was present at the U.S. Capitol on
January 6, 2021. Google estimates device location using sources including GPS data and
information about nearby Wi-Fi access points and Bluetooth beacons. This location data varies
in its accuracy, depending on the source(s) of the data. As a result, Google assigns a “maps
display radius” for each location data point. Thus, where Google estimates that its location data
is accurate to within 10 meters, Google assigns a “maps display radius” of 10 meters to the
location data point. Finally, Google reports that its “maps display radius” reflects the actual
location of the covered device approximately 68% of the time. In this case, Google location data
shows that a device associated with the phone number ending in -7155 was partially within the
U.S. Capitol from approximately 2:20 p.m. to 2:46 p.m. EST.

        Your affiant has also reviewed surveillance footage from inside the U.S. Capitol on
January 6, 2021. The surveillance footage shows TICAS, wearing a tan baseball cap, a black
zip-up hoodie, and blue jeans (as depicted in Figure 1, above) entering the Senate Wing door on
the northwest side of the Capitol at approximately 2:23 p.m. EST. TICAS is next seen walking
through the Crypt, and then south through the Hall of Columns before exiting the building at
approximately 2:44 p.m. EST. Your affiant has provided screenshots of the surveillance footage
from the Senate Wing door and the Hall of Columns below. See Figures 3 and 4, respectively.
TICAS is the individual identified by your affiant with a red circle.




                                            Figure 3



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                                           Figure 4

         Finally, your affiant has reviewed body worn camera (“BWC”) footage from the District
of Columbia Metropolitan Police Department. The BWC footage captures TICAS exiting the
Hall of Columns south door at approximately 2:44 p.m. EST on January 6, 2021. In the BWC
footage, TICAS can be heard yelling, “God damn politicians, don’t fucking touch me.” A
screenshot from the BWC footage is provided below as Figure 5. TICAS is the individual
identified by your affiant with a red circle.




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                                             Figure 5


        On May 24, 2021, your affiant conducted physical surveillance of TICAS at Los Angeles
International Airport (“LAX”). Your affiant observed TICAS exit the LAX terminal and enter a
2015 Lexus bearing California license plate number 7JAH960 that, according to California DMV
records, is registered to David TICAS of Placentia, California. Based on my personal
observations, I believe that the individual I observed at LAX on May 24, 2021 is the same
individual depicted in Figures 1, 3, 4, and 5, above.

         Based on the foregoing, your affiant submits that there is probable cause to believe that
TICAS violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to: (1) knowingly enter or
remain in any restricted building or grounds without lawful authority to do; and (2) knowingly ,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.



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        Your affiant submits there is also probable cause to believe that TICAS violated 40 U.S.C.
§ 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly: (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and parade, demonstrate, or picket in any of the Capitol Buildings; and (G) parade,
demonstrate, or picket in any of the Capitol Buildings.



                                                      _________________________________
                                                      Special Agent Daniel Dales
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 21st day of September, 2021.


                                                     ___________________________________
                                                     HONORABLE ROBIN M. MERIWEATHER
                                                     U.S. MAGISTRATE JUDGE




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